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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 1:21-CV-21079-Bloom


 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.,
 f/k/a SWISS AMERICA SECURITIES LTD.
 and d/b/a SURETRADER, and
 GUY GENTILE, a/k/a GUY GENTILE NIGRO,

       Defendants.
 ___________________________________________/

                      PLAINTIFF’S NOTICE OF PROOF OF SERVICE
                       ON MINTBROKER INTERNATIONAL, LTD.

        Plaintiff Securities and Exchange Commission (the “Commission”), in compliance with

 the Court’s Order on Motion for Alternate Service of Process (DE 13) and pursuant to Fed. R. Civ.

 P. 4(l)(2)(B), hereby files proof of service on Defendant MintBroker International, Ltd, f/k/a Swiss

 America Securities Ltd. and d/b/a SureTrader (“SureTrader”) and advises the Court of the

 following:

        1.      On September 24, 2021, the Court entered its Order Granting the Commission’s

  Motion or Alternate Service of Process, or, in the Alternative, for a 90-Day Extension of Time to

  Effectuate Service, allowing for service on SureTrader by international mail or FedEx and

  requiring service to be effectuated by October 20, 2021. (DE 13)

        2.      On October 4, 2021, undersigned went to the Clerk’s office and provided five

  separate packages of shipping labels, envelopes, and the Summons and Complaint to the Clerk.

  The Clerk prepared five Clerk’s Notice of International Services (DE 17-21),


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        3.      In the Commission’s Motion, it identified SureTrader’s designated agent and

  registered office as Michael C. Miller, P.O. Box EE-17971, Nassau, Bahamas. Upon further

  research, undersigned discovered variations on the P.O. Box address (it was sometimes combined

  with a street address) and located one additional address for Mr. Miller (from the Securities

  Commission         of       the      Bahamas          website:      https://www.scb.gov.bs/wp-

  content/uploads/2021/09/FCSPs-as-at-31-August-2021.pdf, p.8). Undersigned learned that UPS

  and FedEx may not recognize the P.O. Box/street address combinations and UPS would not

  deliver to a P.O. Box address, so in an abundance of caution, undersigned separated the combined

  addresses and used both UPS and FedEx to deliver the packages. Thus, five packages were

  addressed to SureTrader c/o Michael C. Miller as designated/registered agent as follows:

        a. Winton Heights, PO Box EE-17971, Nassau, Bahamas (via FedEx 774857754814);
        b. 10   Lookout     Hill, Winton       Heights, Nassau        Bahamas     (via  UPS
           1ZA3748WDA98637615);
        c. 3   Lookout     Hill,    Winton     Heights,     Nassau   Bahamas      (via  UPS
           1ZA3748WDA99620229);
        d. Bayside Executive Park, Bldg. 3, West Bay Street & Blake Road, Nassau Bahamas (via
           UPS 1ZA3748WDA98257437); and
        e. PO Box N-4875, Nassau, Bahama (via FedEx 774857867699);

        4.      The package sent to Winton Heights, PO Box EE-17971, was delivered on October

  6, 2021, and signed for by “M. Miller.” Proof of delivery from FedEx for Article 774857754814

  is attached as Exhibit A.

        5.      The package sent to 10 Lookout Hill, Winton Heights, was delivered on October 7,

  2021, and received by “M C Miller.”                Proof of delivery from UPS for Article

  1ZA3748WDA98637615 is attached as Exhibit B.

        6.      The package sent to 3 Lookout Hill, Winton Heights, was delivered on October 7,

  2021, and received by “M C Miller.”                Proof of delivery from UPS for Article

  1ZA3748WDA99620229 is attached as Exhibit C.


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        7.      The package sent to Bayside Executive Park, Bldg 3, West Bay Street & Blake

  Road, was delivered on October 8, 2021, and received by “M C Miller.” Proof of delivery from

  UPS for Article 1ZA3748WDA98257437 is attached as Exhibit D.

        8.      The package sent to PO Box N-4875 became “ready for recipient pickup” on

 October 6, 2021, and remains so as of the filing of this Notice. Status from FedEx for Article

 774857867699 as of October 13, 2021, is attached as Exhibit E.

        9.      Accordingly, service was effectuated on SureTrader by serving its designated agent

 and registered office, Michael C. Miller, on October 6, 2021.

 October 13, 2021                           Respectfully submitted,


                                            Alice K. Sum
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